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                                 EXHIBIT 8
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 From:             Beasley Allen
 To:
 Subject:          [EXT] Johnson & Johnson Second Talc Bankruptcy is Another Sham
 Date:             Wednesday, April 5, 2023 11:37:50 AM


[EXTERNAL]
   The talc “settlement” you may have read about is NOT a settlement. Beasley Allen does not
   support this effort by Johnson & Johnson (J&J). It is an illusory proposal for a bankruptcy
   plan, yet another attempt by J&J to misuse the bankruptcy system.

   In fact, the terms are considerably worse than a proposal that we and other firms
   representing ovarian cancer victims rejected last June at a time when it appeared that all
   plaintiffs could be stuck in bankruptcy for years. Since then, J&J’s bankruptcy was tossed out
   by the Third Circuit, and our negotiating position significantly improved.

   The settlement that J&J is now trying to impose on plaintiffs with the aid of a small number of
   firms handling talc cases includes:

            all current and future ovarian cancer victims
            all current and future mesothelioma victims
            all attorney general actions for all states, and
            all other talc-related claims, including claims by medical cost insurers against J&J.


   $8.9 billion sounds like a lot of money, and it is. But it is, by far, not enough when you
   consider the terms of the proposal. This settlement proposal would pay far less than
   $120,000 per case, if that.

   The cost of medical care and lost wages alone for ovarian cancer victims approach
   $500,000. That does not address the pain and suffering nor punitive damages for women,
   and their families have suffered tremendously at the hands of J&J’s massive and deliberate
   cover-up of the dangers of its asbestos-laden talc products. The medical costs incurred by
   mesothelioma victims are even higher.

   Rest assured, we are vigorously opposing this deal and will continue fighting to get fair
   compensation for clients. And, through a remarkable team effort, I am confident that this ploy
   by J&J to cram down a bad deal will be rebuffed, and we will be able to negotiate a fair one
   for clients. Alternatively, we will get this second bankruptcy thrown out like the first so that we
   can present clients’ cases before juries again soon.

   J&J’s arrogance is boundless, and its flaunting and mockery of the court system demonstrate
   a callous, bullying mindset. There are no tactics too underhanded or too low for J&J to use to
   try to avoid paying reasonable compensation to these cancer victims.

   We press on for our clients!

                                                   READ MORE

   Thank you,

                                         Andy Birchfield
                                         Principal, Mass Torts Section Head


                                                                                         BeasleyAllen000019
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